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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                Plaintiff,                          CASE NO. 03-73942
                                                    CRIM. CASE NO. 98-80812

v.                                                  PAUL D. BORMAN
                                                    UNITED STATES DISTRICT JUDGE

KEITH PHELAN

                Defendant,
                                      /


                                        ORDER
                               DENYING MOTION FOR BOND

         Having read the pleadings, and having heard oral argument on October 26, 2006, the

Court DENIES the Defendant’s Motion for Bond for the reasons set forth on the Record.

         SO ORDERED.

                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: October 27, 2006

                                  CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
October 27, 2006.


                                             s/Denise Goodine
                                             Case Manager
